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 6
     - additional counsel on signature page –
 7
 8                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
10   PRIYAM REDDY, Individually and on Behalf            Case No.:
11   of All Others Similarly Situated,

12                                          Plaintiff,   CLASS ACTION COMPLAINT FOR
                                                         VIOLATIONS OF THE FEDERAL
13        vs.                                            SECURITIES LAWS
14   APPLE INC., TIMOTHY D. COOK and LUCA
15   MAESTRI,                                            JURY TRIAL DEMANDED

16                                       Defendants.

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29   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS

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                                                   INTRODUCTION
 1
             Plaintiff Priyam Reddy (“Plaintiff”), individually and on behalf of all others similarly situated, by
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 3   plaintiff’s undersigned counsel, alleges the following based upon personal knowledge as to plaintiff and

 4   plaintiff’s own acts and upon information and belief as to all other matters based on the investigation
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     conducted by and through plaintiff’s counsel, which included, among other things, a review of Securities
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     and Exchange Commission (“SEC”) filings by Apple Inc. (“Apple” or the “Company”), as well as media
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     and analyst reports about the Company. Plaintiff believes that substantial additional evidentiary support will
 8
 9   exist for the allegations set forth herein after a reasonable opportunity for discovery.

10                               NATURE OF THE ACTION AND OVERVIEW
11           1.       This is a securities fraud class action on behalf of all purchasers of Apple securities
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     between November 2, 2018 and January 2, 2019, inclusive (the “Class Period”), seeking to pursue
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     remedies under §§ 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and
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15   SEC Rule 10b-5 promulgated thereunder.

16           2.       Apple is a multinational technology company headquartered in Cupertino, California
17   that designs, develops, and sells consumer electronics, computer software, and online services. The
18
     Company’s most well-known products include its iconic iPhone smartphones, the iPad tablet computer,
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     the Mac personal computer, the iPod portable media player, the Apple Watch smartwatch, the Apple
20
     TV digital media player, and the HomePod smart speaker.
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22           3.       The multiple versions and models of Apple’s iPhone have served as the Company’s

23   flagship product, utilizing Apple’s iOS operating system, powering applications including Siri, an
24
     intelligent assistant, and Apple Pay, Touch ID, and Face ID on qualifying devices. Sales of iPhones
25
     generated approximately two-thirds of Apple’s 2018 revenue.1               Since its original launch in 2007
26
     through 2015, the Company released, on average, one new iPhone model per year, typically to great
27
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     1
       Apple’s fiscal year ends in September of each calendar year. Apple’s 2018 fiscal year began on
29   September 31, 2017, and ended on September 29, 2018.
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     fanfare and high demand. Apple also aggressively increased the pricing of its iPhones from the $99-
 1
 2   $399 range maintained through 2013 to a top offering price of $1,449 for the Apple XS Max with 512

 3   gigabytes in September 2018.
 4            4.       The Company and its products enjoy significant geographic reach, including in emerging
 5
     markets.       Greater China, for example—a region that includes mainland China, Hong Kong, and
 6
     Taiwan—is Apple’s third-largest market after the United States and Europe, accounting for $52 billion
 7
 8   in sales in Apple’s fiscal year 2018 (“FY18”), ended September 29, 2018—nearly 20% of Apple’s total

 9   FY18 annual sales. But, while China represents the Company’s highest growth market, China is also
10   among its most competitive. Chinese upstart brands such as Huawei, Xiaomi and Oppo offer similar
11
     looking all-screen phones for much lower prices. At the same time that Apple’s iPhone sales revenues
12
     were growing in China due to Apple’s outsized price increases, Chinese smartphone manufacturers
13
     were launching scores of much lower priced smartphones with greater advancements throughout the
14
15   Chinese market, thus competing with Apple’s iPhone offerings and diminishing the Company’s pricing

16   power.
17
              5.       In addition, Apple’s business in China is also more susceptible to geopolitical trade
18
     maneuvers by the United States and China, and, more recently, tariffs imposed by the United States
19
     have also threatened sales (though Apple has sought to deny or minimize any perceived impact).
20
21   Specifically, on April 3, 2018, the Trump Administration published a list of $50 billion in Chinese

22   products under consideration for a 25% tariff and, on July 6, 2018, implemented the first $34 billion of
23
     those import tariffs. On July 10, 2018, the Trump Administration announced a list of another $200
24
     billion in Chinese products that would be subject to a 10% import tariff. On July 20, 2018, President
25
     Trump announced he was ready to impose tariffs on all U.S. imports from China, which totaled $504
26
27   billion in 2017. On August 7, 2018, the Trump Administration subjected the remaining $16 billion of

28   the original $50 billion list of Chinese imports to the 25% tariff effective August 23, 2018. On
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     September 17, 2018, the Trump Administration published a list of another $200 billion in Chinese
 1
 2   products that would be subject to a 10% import tariff, which tariffs went into effect on September 24,

 3   2018.
 4           6.       In the midst of the ongoing trade war between the United States and China, on
 5
     September 12, 2018, Apple introduced three new phones: the iPhone XR (priced at $749/$799/$899),
 6
     the iPhone XS (priced at $999/$1149), and the iPhone XS Max (priced at $1099/$1249/$1449). Unlike the
 7
 8   prior iPhone releases, the 2018 iPhones were not viewed as having significant technological advances

 9   beyond the iPhone X released in late 2017 (priced at $999/$1149). The iPhone XS and XS Max that were
10   launched and began shipping in September 2018 featured a Super Retina OLED display, an all-screen
11
     stainless steel and glass design, faster processors and enhanced cameras. The highest gigabyte version of
12
     the iPhone XS Max launched at a price of $1,449—$300 more than the 2017 highest gigabyte version of the
13
     iPhone X.      Meanwhile, Chinese manufacturers like Huawei, Oppo, and Xiaomi, which have since
14
15   commandeered 24.6%, 20.5%, and 13.6% of the Chinese market, respectively, were slashing Apple’s

16   Chinese market share to 7.5% by offering arguably more innovative features for hundreds of dollars less per
17
     phone. For instance, Huawei’s P20 Pro sells for approximately $800 in China and Xiaomi’s MIX 2S sells
18
     for approximately $500 in China.
19
             7.       The strength of the U.S. dollar and the high price of iPhones, combined with a declining
20
21   Chinese economy, placed the iPhone out of reach of many Chinese consumers who might otherwise

22   have upgraded—at the same time that many less expensive Chinese smartphones were flooding the
23
     market.
24
             8.       Making matters worse, in December 2017, Apple admitted that it had been intentionally
25
     degrading, or “throttling,” the performance of the batteries in older iPhones via software “updates.”
26
27   This battery “throttling” had surreptitiously created artificial demand for new premium priced iPhones

28   from consumers who believed their poorly performing iPhones were outdated and thus needed to be
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     replaced. In order to stymie customer outrage over its conduct, starting in January 2018, Apple
 1
 2   dramatically cut the price of iPhone battery replacements from $79 to $29—“for anyone with an iPhone

 3   6 or later whose battery need[ed] to be replaced, available worldwide through December 2018”—right
 4   as Apple would be debuting its three new iPhones.
 5
            9.       Notwithstanding the impact of slowing economic growth in China, geopolitical pressures
 6
     caused by U.S.-China sales tariffs, and the Company’s ability to compel unnecessary iPhone upgrades
 7
 8   on customers, Apple issued a series of materially false and misleading statements in November 2018

 9   concerning demand for iPhones and Apple’s pricing power for its hardware offerings, including its new
10   iPhones launched in September 2018, in particular in China. For example, on November 1, 2018, Apple
11
     reported its fourth quarter and FY18 financial results for the period ended September 29, 2018. The
12
     Company boasted that “‘[o]ver the past two months, [it had] delivered huge advancements for [its]
13
     customers through new versions of iPhone, Apple Watch, iPad and Mac as well as [its] four operating
14
15   systems,’” and that as a result, it had “‘enter[ed] the holiday season with [its] strongest lineup of products

16   and services ever.’” Accordingly, based in large part on this lineup of products, on November 1, 2018—
17
     more than one-third of the way through Apple’s first quarter of 2019 (“1Q19”)—Apple set its 1Q19 revenue
18
     expectations in a range of $89 billion to $93 billion and its gross profit margins at 38% to 38.5%.
19
            10.      During a conference call for analysts and investors held later that same evening, when
20
21   asked whether the U.S.-China trade tariffs and trade tariff threats were having any impact on demand

22   for iPhones in China, defendant Timothy D. Cook (“Cook”) assured investors that the only “emerging
23
     markets that [Apple was] seeing pressure in [were] markets like Turkey, India, Brazil, [and] Russia . . .
24
     where currencies ha[d] weakened.” Cook added, however, “[i]n relation to China specifically, I would
25
     not put China in that category. Our business in China was very strong last quarter. We grew 16%,
26
27   which we’re very happy with. iPhone, in particular, was very strong double-digit growth there.”

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            11.     In addition to the Company’s 1Q19 financial outlook, during the November 1, 2018
 1
 2   conference call, the Company surprised investors by announcing that Apple would no longer disclose

 3   unit sales for iPhones and other hardware, asserting that such data was no longer relevant for investors
 4   to evaluate the Company’s financial performance, all the while assuring investors that despite the
 5
     decision to withhold unit sales data, as in the past, the Company would still experience strong
 6
     performance:
 7
 8          [S]tarting with the December quarter, we will no longer be providing unit sales data for
            iPhone, iPad and Mac . . . . As we accomplish these objectives, strong financial results
 9          follow.
10          As demonstrated by our financial performance in recent years, the number of units sold in
            any 90-day period is not necessarily representative of the underlying strength of our
11
            business. Furthermore, our unit of sale is less relevant for us today than it was in the past
12          ....

13          12.     Throughout the Class Period, Defendants made materially false and misleading
14   statements regarding the Company’s business, operational and compliance policies.             Specifically,
15
     Defendants made false and/or misleading statements and/or failed to disclose that: (i) the U.S.-China
16
     trade war had negatively impacted demand for iPhones and Apple’s pricing power in greater China, one
17
18   of Apple’s most important growth markets; (ii) the rate at which Apple customers were replacing their

19   batteries in older iPhones rather than purchasing new iPhones was negatively impacting Apple’s iPhone

20   sales growth; (iii) as a result of slowing demand, Apple had slashed production orders from suppliers
21
     for the new 2018 iPhone models and cut prices to reduce inventory; (iv) unit sales for iPhone and other
22
     hardware was relevant to investors and the Company’s financial performance, and the decision to
23
     withhold such unit sales was designed to and would mask declines in unit sales of the Company’s
24
25   flagship product; (v) as a result of the foregoing, Defendants lacked a reasonable basis in fact when

26   issuing the Company’s revenue outlook for 1Q19 and/or making the related statements concerning
27
     demand for its products, as Apple’s business metrics and financial prospects were not as strong as
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     Defendants had led the market to believe; and (vi) as a result, the Company’s public statements were
 1
 2   materially false and misleading at all relevant times.

 3          13.      While Apple’s mid-point 1Q19 revenue guidance range provided on November 1, 2018
 4   was $1.9 billion below what the market expected, Defendants’ materially false and misleading
 5
     statements issued that day served to prop up the market price of Apple common stock, which continued
 6
     to trade at artificially inflated prices throughout the Class Period.
 7
 8          14.      Then on January 2, 2019, after the close of trading, Apple shocked the market when it

 9   disclosed the true state of its actual 1Q19 iPhone sales, particularly in China. For the first time during
10   Cook’s tenure as Chief Executive Officer (“CEO”), Apple would miss its public revenue projections
11
     and the miss was up to $9 billion. The Company would admit that in addition to macroeconomics in
12
     the Chinese market, the price cuts to battery replacements a year earlier to fix the Company’s prior
13
     surreptitious conduct had hurt iPhone sales. In a “Letter from Tim Cook to Apple Investors” released
14
15   after the close of trading, the Company explained as follows:

16          Emerging Market Challenges
17          While we anticipated some challenges in key emerging markets, we did not foresee the
18          magnitude of the economic deceleration, particularly in Greater China. In fact, most
            of our revenue shortfall to our guidance, and over 100 percent of our year-over-year
19          worldwide revenue decline, occurred in Greater China across iPhone, Mac and iPad.
20          China’s economy began to slow in the second half of 2018. The government-reported
            GDP growth during the September quarter was the second lowest in the last 25 years. We
21
            believe the economic environment in China has been further impacted by rising trade
22          tensions with the United States. As the climate of mounting uncertainty weighed on
            financial markets, the effects appeared to reach consumers as well, with traffic to our retail
23          stores and our channel partners in China declining as the quarter progressed. And market
            data has shown that the contraction in Greater China’s smartphone market has been
24
            particularly sharp.
25
                                                         ***
26
            iPhone
27
            Lower than anticipated iPhone revenue, primarily in Greater China, accounts for all of our
28          revenue shortfall to our guidance and for much more than our entire year-over-year
29          revenue decline . . . .
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               While Greater China and other emerging markets accounted for the vast majority of the
 1             year-over-year iPhone revenue decline, in some developed markets, iPhone upgrades
 2             also were not as strong as we thought they would be. While macroeconomic challenges
               in some markets were a key contributor to this trend, we believe there are other factors
 3             broadly impacting our iPhone performance, including consumers adapting to a world
               with fewer carrier subsidies, US dollar strength-related price increases, and some
 4             customers taking advantage of significantly reduced pricing for iPhone battery
 5             replacements.

 6             15.    This news caused the market price of Apple common stock to plunge, closing down

 7   more than $15 per share, or more than 9%, from its close of $157.92 per share on January 2, 2019 to
 8
     close at $142.19 per share on January 3, 2019, on unusually high volume of more than 90 million shares
 9
     traded.
10
               16.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in
11
12   the market value of Apple’s securities, Plaintiff and other Class members have suffered significant

13   losses and damages.
14
                                          JURISDICTION AND VENUE
15
               17.    The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange Act, 15
16
     U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.
17
18             18.    This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §

19   1331 and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

20             19.    Venue is proper in this District pursuant to Section 27 of the Exchange Act, as Apple is
21
     headquartered in this District and many of the false and misleading statements alleged herein were
22
     disseminated from this District.
23
               20.    In connection with the acts alleged in this complaint, Defendants, directly or indirectly,
24
25   used the means and instrumentalities of interstate commerce, including, but not limited to, the mails,

26   interstate telephone communications and the facilities of the national securities markets.
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                                                    PARTIES
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            21.      Plaintiff purchased Apple securities during the Class Period, as set forth in the
 2
 3   accompanying certification incorporated by reference herein, and has been damaged thereby.

 4          22.      Defendant Apple is a Cupertino, California-based tech company. Apple common stock
 5
     is listed and trades on the NASDAQ, an efficient market, under the ticker symbol “AAPL.” As of
 6
     October 26, 2018, the Company had 4.75 billion shares issued and outstanding.
 7
            23.      Defendant Cook has served as CEO of Apple at all relevant and a member of its Board
 8
 9   of Directors.

10          24.      Defendant Luca Maestri (“Maestri”) has served as Apple’s Senior Vice President and
11
     Chief Financial Officer (“CFO”) at all relevant times.
12
            25.      Defendants Cook and Maestri are sometimes referred to herein as the “Individual
13
     Defendants.” Apple and the Individual Defendants are referred to herein, collectively, as “Defendants.”
14
15                                     SUBSTANTIVE ALLEGATIONS

16                                                Background
17          26.      Apple is a multinational technology company headquartered in Cupertino, California
18
     that designs, develops, and sells consumer electronics, computer software, and online services. The
19
     Company’s most well-known products include its iconic iPhone smartphones, the iPad tablet computer,
20
     the Mac personal computer, the iPod portable media player, the Apple Watch smartwatch, the Apple
21
22   TV digital media player, and the HomePod smart speaker.

23          27.      The multiple versions and models of Apple’s iPhone have served as the Company’s
24
     flagship product, utilizing Apple’s iOS operating system, powering applications including Siri, an
25
     intelligent assistant, and Apple Pay, Touch ID, and Face ID on qualifying devices. Sales of iPhones
26
     generated approximately two-thirds of Apple’s 2018 revenue. Since its original launch in 2007 through
27
28   2015, the Company released, on average, one new iPhone model per year, typically to great fanfare and

29   high demand. Apple also aggressively increased the pricing of its iPhones from the $99-$399 range
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     maintained through 2013 to a top offering price of $1,449 for the Apple XS Max with 512 gigabytes in
 1
 2   September 2018.

 3          28.      The Company and its products enjoy significant geographic reach, including in emerging
 4   markets.     Greater China, for example—a region that includes mainland China, Hong Kong, and
 5
     Taiwan—is Apple’s third-largest market after the United States and Europe, accounting for $52 billion
 6
     in sales in Apple’s FY18, ended September 29, 2018—nearly 20% of Apple’s total FY18 annual sales.
 7
 8   But, while China represents the Company’s highest growth market, China is also among its most

 9   competitive. Chinese upstart brands such as Huawei, Xiaomi and Oppo offer similar looking all-screen
10   phones for much lower prices. At the same time that Apple’s iPhone sales revenues were growing in
11
     China due to Apple’s outsized price increases, Chinese smartphone manufacturers were launching
12
     scores of much lower priced smartphones with greater advancements throughout the Chinese market,
13
     thus competing with Apple’s iPhone offerings and diminishing the Company’s pricing power.
14
15          29.      In addition, Apple’s business in China is also more susceptible to geopolitical trade

16   maneuvers by the United States and China, and, more recently, tariffs imposed by the United States
17
     have also threatened sales (though Apple has sought to deny or minimize any perceived impact).
18
     Specifically, on April 3, 2018, the Trump Administration published a list of $50 billion in Chinese
19
     products under consideration for a 25% tariff and, on July 6, 2018, implemented the first $34 billion of
20
21   those import tariffs. On July 10, 2018, the Trump Administration announced a list of another $200

22   billion in Chinese products that would be subject to a 10% import tariff. On July 20, 2018, President
23
     Trump announced he was ready to impose tariffs on all U.S. imports from China, which totaled $504
24
     billion in 2017. On August 7, 2018, the Trump Administration subjected the remaining $16 billion of
25
     the original $50 billion list of Chinese imports to the 25% tariff effective August 23, 2018. On
26
27   September 17, 2018, the Trump Administration published a list of another $200 billion in Chinese

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     products that would be subject to a 10% import tariff, which tariffs went into effect on September 24,
 1
 2   2018.

 3           30.    In the midst of the ongoing trade war between the United States and China, on
 4   September 12, 2018, Apple introduced three new phones: the iPhone XR (priced at $749/$799/$899),
 5
     the iPhone XS (priced at $999/$1149), and the iPhone XS Max (priced at $1099/$1249/$1449). Unlike the
 6
     prior iPhone releases, the 2018 iPhones were not viewed as having significant technological advances
 7
 8   beyond the iPhone X released in late 2017 (priced at $999/$1149). The iPhone XS and XS Max that were

 9   launched and began shipping in September 2018 featured a Super Retina OLED display, an all-screen
10   stainless steel and glass design, faster processors and enhanced cameras. The highest gigabyte version of
11
     the iPhone XS Max launched at a price of $1,449—$300 more than the 2017 highest gigabyte version of the
12
     iPhone X.     Meanwhile, Chinese manufacturers like Huawei, Oppo, and Xiaomi, which have since
13
     commandeered 24.6%, 20.5%, and 13.6% of the Chinese market, respectively, were slashing Apple’s
14
15   Chinese market share to 7.5% by offering arguably more innovative features for hundreds of dollars less per

16   phone. For instance, Huawei’s P20 Pro sells for approximately $800 in China and Xiaomi’s MIX 2S sells
17
     for approximately $500 in China.
18
             31.    The strength of the U.S. dollar and the high price of iPhones, combined with a declining
19
     Chinese economy, placed the iPhone out of reach of many Chinese consumers who might otherwise
20
21   have upgraded—at the same time that many less expensive Chinese smartphones were flooding the

22   market.
23
             32.    Making matters worse, in December 2017, Apple admitted that it had been intentionally
24
     degrading, or “throttling,” the performance of the batteries in older iPhones via software “updates.”
25
     This battery “throttling” had surreptitiously created artificial demand for new premium priced iPhones
26
27   from consumers who believed their poorly performing iPhones were outdated and thus needed to be

28   replaced. In order to stymie customer outrage over its conduct, starting in January 2018, Apple
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     dramatically cut the price of iPhone battery replacements from $79 to $29—“for anyone with an iPhone
 1
 2   6 or later whose battery need[ed] to be replaced, available worldwide through December 2018”—right

 3   as Apple would be debuting its three new iPhones.
 4                Materially False and Misleading Statements Issued During the Class Period
 5
            33.     The Class Period starts on November 2, 2018. On November 1, 2018, after the close of
 6
     trading, Apple issued a release reporting its fourth quarter 2018 (“4Q18”) and FY18 results for the
 7
     period that had ended September 29, 2018—more than one month earlier. Apple’s release issued that
 8
 9   day emphasized that “‘[o]ver the past two months, [Apple had] delivered huge advancements for [its]

10   customers through new versions of iPhone, Apple Watch, iPad and Mac as well as [its] four operating
11
     systems, and [that it was] enter[ing] the holiday season with [its] strongest lineup of products and
12
     services ever.’” Accordingly, based on that lineup, among other factors, Apple—then already more
13
     than one-third of the way into 1Q19—set public 1Q19 revenue expectations at a range of $89 billion to
14
15   $93 billion in the all-important holiday quarter and 1Q19 profit margins of 38% to 38.5%.

16          34.     During the conference call held with investors and securities analysts that evening,
17   Defendants repeated the representations in the release, with defendant Maestri emphasizing again that
18
     Apple had “the strongest lineup ever as [it] enter[ed] the holiday season,” justifying “a new all-time
19
     record” of “expect[ed] revenue [of] between $89 billion and $93 billion.” Maestri reassured investors
20
21   that a number of factors had been considered and were “reflect[ed]” in determining that revenue range,

22   including new products ramping and uncertainty around supply and demand balance. Indeed, Maestri’s
23   statement that “while [the] ramps [were] going fairly well, [Apple had] uncertainty around supply and
24
     demand balance” implied that demand might be so strong that it could outpace supply.
25
            35.     When questioned about any “macroeconomic uncertainty” in “emerging markets,”
26
27   defendant Cook maintained that those concerns did not include Apple’s greater China sales growth and

28   that its greater China sales growth was strong, stating in pertinent part as follows:

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            To give you a perspective in – at some detail, our business at India in Q4 was flat. Obviously,
 1          we would like to see that be a huge growth. Brazil was down somewhat compared to the
 2          previous year. And so I think – or at least the way that I see these is each one of the emerging
            markets has a bit of a different story. And I don’t see it as some sort of issue that is common
 3          between those for the most part. In relation to China specifically, I would not put China in
            that category. Our business in China was very strong last quarter. We grew 16%, which
 4          we’re very happy with. iPhone, in particular, was very strong double-digit growth there. Our
 5          other products category was also stronger, in fact, a bit stronger than even the . . . overall
            company number.
 6
            36.       Defendant Maestri supported the guidance range and emphasized that Apple’s strong
 7
     product lineup for the holiday season purportedly provided a strong basis for the “record” financial
 8
 9   guidance being issued that day, stating in pertinent part as follows:

10          [A]t the revenue level, we started from the fact that we are very, very excited about the
            lineup of products and services that we have getting into the holiday season. It’s the
11
            strongest lineup that we’ve ever had. And our guidance range, by the way, represents a
12          new all-time quarterly revenue record . . . .

13          37.       When asked how strong demand was for the two new iPhones that started shipping in
14   September 2018—the two most expensive iPhones, the XS and XS Max—and specifically whether
15
     Apple had seen purchasers hold off on XS or XS Max purchases pending the rollout of the cheaper XR
16
     iPhone in October, defendant Cook stated that to date XS and XS Max demand was strong. According
17
18   to Cook:

19          The XS and XS Max got off to a really great start, and we’ve only been selling for a few
            weeks. The XR, we’ve only got out there for, I guess, 5 – 5 days or so at this point and so
20          that it’s – we have very, very little data there. Usually, there is some amount of wait until a
            product shows – another product shows up in look, but in – that – in looking at the data, on
21
            the sales data for XS and XS Max, there’s not obvious evidence of that in the data as I
22          see it.

23          38.       Defendants also reported that going forward the Company would no longer provide unit
24   sales numbers:
25
            [S]tarting with the December quarter, we will no longer be providing unit sales data for
26          iPhone, iPad and Mac. As we have stated many times, our objective is to make great
            products and services that enrich people’s lives and to provide an unparalleled customer
27          experience so that our users are highly satisfied, loyal and engaged. As we accomplish these
28          objectives, strong financial results follow.

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            As demonstrated by our financial performance in recent years, the number of units sold in
 1          any 90-day period is not necessarily representative of the underlying strength of our
 2          business. Furthermore, our unit of sale is less relevant for us today than it was in the past
            given the breadth of our portfolio and the wider sales price dispersion within any given
 3          product line.
 4          39.     Defendants then tried to justify the Company’s decision to withhold iPhone unit sales.
 5
     Rejecting the notion suggested by at least one analyst that the reason for withholding iPhone unit data
 6
     was because “iPhone units are going to start going negative . . . [and] it’s easier to talk about great
 7
     things and not show the details of things that are not going so great,” defendants Maestri and Cook each
 8
 9   insisted that the revenue and profit margin guidance being provided that day was all investors should

10   focus on, maintaining that demand was still strong for Apple’s more expensive iPhone offerings, stating
11
     in pertinent part as follows:
12
            [Maestri:] Given the rationale on why we do not believe that providing unit sales is
13          particularly relevant for our company at this point, I can reassure you that it is our
            objective to grow unit sales for every product category that we have. But as I said
14          earlier, a unit of sale is less relevant today than it was in the past. To give you an
15          example, the unit sales of iPhone at the top end of the line have been very strong
            during the September quarter. And that’s very important because we are attracting
16          customers to the most recent technologies and features and innovation that we bring
            into the lineup, but you don’t necessarily see that in the number that is reported. And so
17          therefore, we will – as I said, we’ll provide the qualitative commentary when it is
18          important and relevant, but at the end of the day, we make our decisions to – from a
            financial standpoint, to try and optimize our revenue and our gross margin dollars. And
19          that, we think, is the focus that is in the best interest of our investors.
20          [Cook:] Jim, let me just add a couple things to that for color. Our installed base is
            growing at double digit, and so there’s no – and that’s probably a much more
21
            significant metric for us from an ecosystem point of view and customer loyalty, et
22          cetera. The second thing is this is a little bit like if you go to the market and you push
            your cart up to the cashier and she says or he says, “How many units you have in
23          there?,” it sort of – it doesn’t matter a lot how many units there are in there in terms of
            the overall value of what’s in the cart.
24
25          40.     The statements referenced in ¶¶ 33-39 were materially false and misleading because

26   Defendants made false and/or misleading statements, as well as failed to disclose material adverse facts
27   about the Company’s business, operational and compliance policies. Specifically, Defendants made
28
     false and/or misleading statements and/or failed to disclose that: (i) the U.S.-China trade war had
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                                                         13
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     negatively impacted demand for iPhones and Apple’s pricing power in greater China, one of Apple’s
 1
 2   most important growth markets; (ii) the rate at which Apple customers were replacing their batteries in

 3   older iPhones rather than purchasing new iPhones was negatively impacting Apple’s iPhone sales
 4   growth; (iii) as a result of slowing demand, Apple had slashed production orders from suppliers for the
 5
     new 2018 iPhone models and cut prices to reduce inventory; (iv) unit sales for iPhone and other
 6
     hardware was relevant to investors and the Company’s financial performance, and the decision to
 7
 8   withhold such unit sales was designed to and would mask declines in unit sales of the Company’s

 9   flagship product; (v) as a result of the foregoing, Defendants lacked a reasonable basis in fact when
10   issuing the Company’s revenue outlook for 1Q19 and/or making the related statements concerning
11
     demand for its products, as Apple’s business metrics and financial prospects were not as strong as
12
     Defendants had led the market to believe; and (vi) as a result, the Company’s public statements were
13
     materially false and misleading at all relevant times.
14
15          41.     Following the Company’s November 1, 2018 earning release and conference call,

16   several securities analysts issued reports indicating that the information had been favorably received by
17
     the market and that the market believed Apple was experiencing strong demand, with analysts
18
     accepting Apple’s reasoning for withholding unit sales and expecting the Company to meet or beat the
19
     1Q19 financial guidance provided that day:
20
21                 Canaccord Genuity LLC:

22          We believe Apple continues to grow its leading market share of the premium-tier
            smartphone market with double-digit growth of its installed base and believe the iPhone
23          installed base of new iPhone consumers will exceed 700M exiting C2018. This
            impressive installed base should drive strong iPhone replacement sales and earnings,
24          as well as cash flow generation to fund strong long-term capital returns. We maintain our
25          BUY rating and $250 price target.
            . . . We believe demand trends are solid for the three new iPhone models and
26          anticipate strong ASPs and margin trends for the iPhone franchise going forward.
27                 Piper Jaffray:
28          Apple reported Sept. quarter revenue and EPS ahead of the Street (2% and 5%,
            respectively) . . . . Revenue guidance for the Dec. quarter is 2% below consensus at the
29
                                                         14
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            mid-point, with the gross margin outlook at 38.25% (Street at 38.5%). With slightly
 1          weaker guidance for the Dec. quarter and the company’s indication that it will provide
 2          less product level disclosure (no units or ASP), some investors will assume iPhone units
            are trending poorly. With increasing disclosure coming for services (gross margin), we
 3          believe Apple is simply trying to change the focus towards the overall installed base
            and services revenue per user. Maintain OW, PT remains $250.
 4
                   Wedbush: 
 5
            Last night Apple delivered FY4Q (Sept.) results which beat the Street from a headline
 6          number but slightly missed iPhone unit shipments which was the focus of investors.
            However the quarter itself took a back seat to the modestly softer December guidance that
 7          Cook & Co. gave on the heels of its much anticipated XS/XR iPhone product cycle which
            remains the linchpin of the Apple story for FY19. That said, the “jaw dropper” last night
 8
            was when Apple announced it will stop providing units/ASPs for iPhones, Macs and its
 9          other product lines. The Street will find this a tough pill to swallow this morning as the
            transparency of the Cupertino story takes a major dent given that tracking iPhone units has
10          become habitual to any investor that has closely followed the Apple story for the last
            decade+ and is critical to the thesis. As explained on the conference call we understand
11
            the logic of not providing these metrics anymore given that ASPs are all over the map
12          and a slew of new smartphone releases has catalyzed Apple to focus more on overall
            segment revenue rather than myopic quarterly unit sales. However, the skeptics will point
13          to Apple doing this right at the critical juncture where higher ASPs are making up for
            slower unit sales which remains the worry and the stock will get hit accordingly this
14
            morning. That said, while it’s frustrating how Apple (with no warning) decided to pull the
15          plug on unit metrics, our core bull thesis does not change on the story and to some extent
            is emboldened by the ~$800 ASP story and a robust services business poised to hit $50
16          billion+ in FY20 . . . . While last night’s “Houdini-like metrics move” was a stunner, our
            core bullish thesis on Apple remains unchanged despite the noise this morning. We
17
            maintain our OUTPERFORM rating and $310 price target.
18
            42.     Following the November 1, 2018 release of the Company’s 4Q18 and FY18 financial
19
     results and Defendants’ comments concerning the purported strong demand for Apple’s iPhones and its
20
21   pricing power, and despite the fact that the $91 billion mid-point 1Q19 revenue guidance provided that

22   day was below the revenue the investment community had been led to expect, the price of Apple
23   common stock remained artificially inflated throughout the Class Period.
24
            43.     Throughout late November and into December, Apple’s stock price began to decline as
25
     the previously concealed adverse information about weakening demand and production cuts began to
26
     leak into the market.
27
28
29
                                                        15
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                                           The Truth Begins to Emerge
 1
            44.      On January 2, 2019, after the close of trading, Apple disclosed the true state of its iPhone
 2
 3   sales, particularly in China. For the first time in fifteen years, Apple slashed its prior quarterly revenue

 4   forecast for the already complete 1Q19 amid falling iPhone sales in China, its third-largest market after
 5
     the United States and Europe. In a “Letter from Tim Cook to Apple Investors,” released after the close
 6
     of trading that night, Apple disclosed that its 1Q19 revenues were only $84 billion, far below the
 7
     expected range of $89 billion to $93 billion the Company had announced just eight weeks earlier on
 8
 9   November 1, 2018. Discussing why Apple had experienced what was characterized as “fewer iPhone

10   upgrades than [it] had anticipated,” the Letter blamed the Chinese economy and the cheap battery
11
     replacements, stating in pertinent part as follows:
12
            Emerging Market Challenges
13
            While we anticipated some challenges in key emerging markets, we did not foresee the
14          magnitude of the economic deceleration, particularly in Greater China. In fact, most
15          of our revenue shortfall to our guidance, and over 100 percent of our year-over-year
            worldwide revenue decline, occurred in Greater China across iPhone, Mac and iPad.
16
            China’s economy began to slow in the second half of 2018. The government-reported
17          GDP growth during the September quarter was the second lowest in the last 25 years. We
            believe the economic environment in China has been further impacted by rising trade
18
            tensions with the United States. As the climate of mounting uncertainty weighed on
19          financial markets, the effects appeared to reach consumers as well, with traffic to our retail
            stores and our channel partners in China declining as the quarter progressed. And market
20          data has shown that the contraction in Greater China’s smartphone market has been
            particularly sharp.
21
22                                                         ***

23          iPhone

24          Lower than anticipated iPhone revenue, primarily in Greater China, accounts for
            all of our revenue shortfall to our guidance and for much more than our entire year-over-
25          year revenue decline. In fact, categories outside of iPhone (Services, Mac, iPad,
26          Wearables/Home/Accessories) combined to grow almost 19 percent year-over-year.

27          While Greater China and other emerging markets accounted for the vast majority of the
            year-over-year iPhone revenue decline, in some developed markets, iPhone upgrades
28          also were not as strong as we thought they would be. While macroeconomic challenges
            in some markets were a key contributor to this trend, we believe there are other factors
29
                                                           16
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            broadly impacting our iPhone performance, including consumers adapting to a world
 1          with fewer carrier subsidies, US dollar strength-related price increases, and some
 2          customers taking advantage of significantly reduced pricing for iPhone battery
            replacements.
 3
            45.     Though Apple did not conduct a conference call on January 2, 2019, defendant Cook
 4
     appeared on CNBC. Discussing the reference to “rising trade tensions” in the Letter, defendant Cook
 5
 6   expressly stated in pertinent part that:

 7          [A]s we look at what’s going on in China – it’s clear that the economy begins to slow there
            for the second half. And what I believe to be the case is the trade tensions between the
 8
            United States and China put additional pressure on their economy. And so we saw, as the
 9          quarter went on, things like traffic in our retail stores, traffic in our channel partner’s stores,
            the reports of the smartphone industry contracting, particularly bad in November – I haven’t
10          seen the December number yet, but I would guess that would[n’t] be good either. And so
            that’s what we seen.
11
12                                                        ***

13          [M]y sense is the much larger issue is the slowing of the economy and then this – the
            trade tension that’s further pressured.
14
            46.     Defendant Cook also emphasized the negative impact the battery replacement program
15
16   had had on the pace of phone replacements during 1Q19, stating in pertinent part:

17          [S]ort of in addition to those two things, we’ve started a program worldwide where we
            dramatically lowered the battery replacement price. And so we have sort of a collection
18          of items going on, some that are macroeconomic and some that are Apple specific . . . .
19
            47.     The price of Apple common stock plunged on this news, falling more than $15 per share,
20
     or more than 9%, from its close of $157.92 per share on January 2, 2019 to close at $142.19 per share
21
     on January 3, 2019, on unusually high volume of more than 91.1 million shares traded, the highest one-
22
23   day trading volume experienced by the Company in nearly two years.

24          48.     On January 3, 2019, Yahoo Finance published an article, entitled “Apple’s mind-
25
     blowing warning means CEO Tim Cook now has a major credibility problem,” stating that “Apple
26
     CEO Tim Cook and his management team should read the coverage of their mind-blowing warning to
27
     every investor on the planet on Apple News and then ask: ‘Should investors trust us right now? And,
28
29
                                                            17
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     how can we regain that trust.’” The article highlighted how Apple’s investors were duped, stating in
 1
 2   pertinent part as follows:

 3          They failed to keep it real with investors on what they were seeing in iPhone demand
            data late in 2018. Simply no longer providing unit sales data wasn’t enough of a
 4          signal to investors that something was wrong, bottom line.
 5
            As a result, Apple’s stock could be “broken” until credibility is restored.
 6
            “Apple’s stock is now at a crossroads. Some investors will consider the stock broken and
 7          never reward it with a “proper” multiple, but we’ve followed the company long enough to
            know there is cyclicality in the market’s relationship with Apple,” cautions long-time
 8          Apple analyst Gene Munster of Loup Ventures.
 9
            A poor job done with guidance.
10
            Apple said in a filing released after market close Wednesday that it now sees first quarter
11          revenue of about $84 billion. It previously anticipated $89 billion to $91 billion. In the filing,
            Cook attributed the reduced guidance to weakness in emerging markets and in Greater China
12          as well as supply constraints on new products. Cook also hinted strongly that Apple felt
13          resistance from consumers to the new $1,000 plus iPhone XS line.

14          49.     ZDNet’s Adrian Kingsley-Hughes surmised in his January 4, 2019 report, entitled “This

15   is why Apple doesn’t want you fixing your smartphone,” that “[a]midst all the finger-pointing
16
     associated [with] the sudden and unexpected profits warning from Apple was a revelation about how
17
     much the company relies on premature obsolescence to drive sales.” Kingsley-Hughes’s report further
18
     stated that: “First, and perhaps most significant is this – How many iPhones does Apple sell to people
19
20   simply because the battery in their existing iPhone is worn? Over the years there’s been a great deal of

21   chatter around the subject of ‘planned obsolescence,’ and here we have Apple essentially confirming
22
     that this is indeed part of the business model.” His report concluded: “At this point, it’s worth
23
     pointing out that if indeed the battery replacement program was a significant factor in the profits
24
     warning, Apple only has itself to blame for throttling iPhones in the first place.”
25
26                          APPLICATION OF PRESUMPTION OF RELIANCE:
                                     FRAUD ON THE MARKET
27
            50.     Plaintiff will rely upon the presumption of reliance established by the fraud on the
28
29   market doctrine in that, among other things:
                                                           18
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                    a)      Defendants made public misrepresentations or failed to disclose material facts
 1
 2   during the Class Period;

 3                  b)      The omissions and misrepresentations were material;
 4                  c)      Apple common stock traded in an efficient market;
 5
                    d)      The misrepresentations alleged would tend to induce a reasonable investor to
 6
     misjudge the value of Apple common stock; and
 7
 8                  e)      Plaintiff and other members of the Class (as defined below) purchased Apple

 9   common stock between the time Defendants misrepresented or failed to disclose material facts and the
10   time the true facts were disclosed, without knowledge of the misrepresented or omitted facts.
11
            51.     At all relevant times, the market for Apple common stock was efficient for the following
12
     reasons, among others:
13
                    a)      As a regulated issuer, Apple filed periodic public reports with the SEC; and
14
15                  b)      Apple regularly communicated with public investors via established market

16   communication mechanisms, including through the regular disseminations of press releases on the
17
     major news wire services and through other wide-ranging public disclosures, such as communications
18
     with the financial press, securities analysts, and other similar reporting services.
19
                                    LOSS CAUSATION/ECONOMIC LOSS
20
21          52.     During the Class Period, as detailed herein, Defendants made false and misleading

22   statements and engaged in a scheme to deceive the market and a course of conduct that artificially
23   inflated the price of Apple common stock and operated as a fraud or deceit on Class Period purchasers
24
     of Apple common stock. As Defendants’ misrepresentations and fraudulent conduct became apparent
25
     to the market, the price of Apple common stock fell precipitously, as the prior artificial inflation came
26
27   out of the price. As a result of their purchases of Apple securities during the Class Period, plaintiff and

28   other members of the Class suffered economic loss, i.e., damages, under the federal securities laws.

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                                        CLASS ACTION ALLEGATIONS
 1
            53.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil Procedure
 2
 3   23(a) and (b)(3) on behalf of a class consisting of all purchasers of Apple securities during the Class

 4   Period (the “Class”). Excluded from the Class are Defendants and their families, the officers and directors
 5
     of the Company, at all relevant times, members of their immediate families and their legal representatives,
 6
     heirs, successors or assigns and any entity in which Defendants have or had a controlling interest.
 7
            54.     The members of the Class are so numerous that joinder of all members is impracticable.
 8
 9   Throughout the Class Period, Apple common stock was actively traded on the NASDAQ. While the

10   exact number of Class members is unknown to plaintiff at this time and can only be ascertained through
11
     appropriate discovery, plaintiff believes that there are hundreds of thousands of members in the
12
     proposed Class. Record owners and other members of the Class may be identified from records
13
     maintained by Apple and/or its transfer agent and may be notified of the pendency of this action by
14
15   mail, using the form of notice similar to that customarily used in securities class actions.

16          55.     Plaintiff’s claims are typical of the claims of the members of the Class as all members of
17   the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that is
18
     complained of herein.
19
            56.     Plaintiff will fairly and adequately protect the interests of the members of the Class and
20
21   has retained counsel competent and experienced in class and securities litigation.

22          57.     Common questions of law and fact exist as to all members of the Class and predominate
23   over any questions solely affecting individual members of the Class. Among the questions of law and
24
     fact common to the Class are:
25
                    a)       whether the Exchange Act was violated by Defendants as alleged herein;
26
27                  b)       whether statements made by Defendants misrepresented material facts about the

28   business and prospects of Apple; and

29
                                                          20
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                    c)      to what extent the members of the Class have sustained damages and the proper
 1
 2   measure of damages.

 3          58.     A class action is superior to all other available methods for the fair and efficient
 4   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
 5
     damages suffered by individual Class members may be relatively small, the expense and burden of
 6
     individual litigation make it impossible for members of the Class to individually redress the wrongs done
 7
 8   to them. There will be no difficulty in the management of this action as a class action.

 9                                                    COUNT I
10   (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder Against
                                               All Defendants)
11
12          59.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

13   paragraphs as if fully set forth herein.
14          60.     During the Class Period, Defendants disseminated or approved the false statements
15
     specified above, which they knew or deliberately disregarded were misleading in that they contained
16
     misrepresentations and failed to disclose material facts necessary in order to make the statements made,
17
18   in light of the circumstances under which they were made, not misleading.

19          61.     Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that they: (a)

20   employed devices, schemes, and artifices to defraud; (b) made untrue statements of material fact or
21
     omitted to state material facts necessary in order to make the statements made, in light of the
22
     circumstances under which they were made, not misleading; or (c) engaged in acts, practices, and a
23
     course of business that operated as a fraud or deceit upon plaintiff and others similarly situated in
24
25   connection with their purchases of Apple securities during the Class Period.

26          62.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of the
27
     market, they paid artificially inflated prices for Apple securities. Plaintiff and the Class would not have
28
29
                                                          21
30
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     purchased Apple securities at the prices they paid, or at all, if they had been aware that the market
 1
 2   prices had been artificially and falsely inflated by Defendants’ misleading statements.

 3                                                  COUNT II
 4            (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)
 5            63.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing
 6
     paragraphs as if fully set forth herein.
 7
              64.   The Individual Defendants acted as controlling persons of Apple within the meaning of
 8
 9   Section 20(a) of the Exchange Act. By reason of their positions with the Company, and their ownership

10   of Apple securities, the Individual Defendants had the power and authority to cause Apple to engage in
11   the wrongful conduct complained of herein. Apple controlled the Individual Defendants and all of its
12
     employees. By reason of such conduct, Defendants are liable pursuant to Section 20(a) of the Exchange
13
     Act.
14
15                                              PRAYER FOR RELIEF

16            WHEREFORE, plaintiff prays for relief and judgment as follows:

17            A.      Determining that this action is a proper class action, designating plaintiff as Lead
18
     Plaintiff and certifying plaintiff as a Class representative under Rule 23 of the Federal Rules of Civil
19
     Procedure and plaintiff’s counsel as Lead Counsel;
20
              B.      Awarding compensatory damages in favor of plaintiff and the other Class members
21
22   against all Defendants, jointly and severally, for all damages sustained as a result of Defendants’

23   wrongdoing, in an amount to be proven at trial, including interest thereon;
24            C.      Awarding plaintiff and the Class their reasonable costs and expenses incurred in this
25
     action, including counsel fees and expert fees; and
26
              D.      Awarding such equitable/injunctive or other relief as deemed appropriate by the
27
28   Court.

29
                                                           22
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                                      DEMAND FOR TRIAL BY JURY
 1
           Plaintiff hereby demands a trial by jury.
 2
 3   Dated: May 14, 2019
                                                        Respectfully submitted,
 4
                                                        POMERANTZ LLP
 5
 6                                                      By: /s/ Jennifer Pafiti
                                                        Jennifer Pafiti (SBN 282790)
 7                                                      1100 Glendon Avenue, 15th Floor
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                                                       23
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  Submission Date
  2019-01-04 09:37:35


  CERTIFICATION PURSUANT TO FEDERAL SECURITIES
  LAWS

  1. I make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section 21D(a)(2) of the
  Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private Securities Litigation Reform Act of 1995.

  2. I have reviewed a Complaint against Apple Inc. (“Apple” or the “Company”) and authorize the filing of a comparable complaint on my
  behalf.

  3. I did not purchase or acquire Apple securities at the direction of plaintiffs’ counsel or in order to participate in any private action arising
  under the Securities Act or Exchange Act.

  4. I am willing to serve as a representative party on behalf of a Class of investors who purchased or acquired Apple securities during the class
  period, including providing testimony at deposition and trial, if necessary. I understand that the Court has the authority to select the most
  adequate lead plaintiff in this action.

  5. To the best of my current knowledge, the attached sheet lists all of my transactions in Apple securities during the Class Period as specified in
  the Complaint.

  6. During the three-year period preceding the date on which this Certification is signed, I have not sought to serve as a representative party on
  behalf of a class under the federal securities laws.

  7. I agree not to accept any payment for serving as a representative party on behalf of the class as set forth in the Complaint, beyond my pro
  rata share of any recovery, except such reasonable costs and expenses directly relating to the representation of the class as ordered or approved
  by the Court.

  8. I declare under penalty of perjury that the foregoing is true and correct.




  Name

  Print Name
  Priyam Reddy



  Acquisitions

  Configurable list (if none enter none)

          Date Acquired                            Number of Shares Acquired                                   Price per Share Acquired
              11/02/2018                                         20                                                       210.82
              11/05/2018                                         20                                                       200.96




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  Sales



  Documents & Message

 (redacted)




  Signature




  Full Name
  Priyam Reddy

(redacted)




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Apple Inc. (APPL)                                                   Reddy, Priyam

                             List of Purchases and Sales

                      Purchase              Number of            Price Per
       Date            or Sale              Shares/Unit         Share/Unit

          11/2/2018         Purchase                       20            $210.8200
          11/5/2018         Purchase                       20            $200.9600
